Affidavit of Sovereignty

Equa|ity under the law is paramount, and mandatory by law.

l, Bi|ly Darry| F|oyd, a titled sovereign, hereby declare that:

l am competent to manage all my own affairs.

'A|l other entities are incompetent to manage any of my affairs,

and are hereby tired, fired, tired. A sovereign cannot be tried in their own court.

Consistent with the etema| tradition of natural common law, unless l have harmed or violated

someone, or their property, l have committed no crime; and am therefore not subject to any

penalty.

Thus, be it known to al|, in the nature of UCC 1-207, that | reserve my natural common law right
not to be compelled to perform under any contract that l did not enter into knowingly, voluntarily,
and intentionally. And furthermore, l do not accept the liability associated with the compelled and

pretended "benetit"* of any hidden or unrevealed contract or commercial agreement

As such, the hidden or unrevealed contracts that supposedly create obligations to perform, for
persons of subject status. are inapplicable to me, and are null and void. lf | have participated in
any of the supposed "beneflts"* associated with these hidden contracts, l have done so under

duress, for lack of any other practical alternative

Any such participation does not constitute “acceptance" in contract |aw, because of the absence
of full disclosure of any valid "offer," and voluntary consent without misrepresentation or
coercion, under contract law. Without a valid voluntary offer and acceptance, knowingly entered
into by both parties, there is no "meeting of the minds," and therefore no valid contract. Any
supposed "contract" is therefore void, ab initio.

Typical examples of such compelled and pretended "benefits"* are: _

1. Birth Certificate.

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The fact that a birth certificate was granted to me by a local hospital or government
agency when l entered this wor|d, is irrelevant to my Sovereignty. No status, high or low,
can be assigned to another person through a piece of paper, without the recipient‘s full
knowledge and consent Therefore, such a :`piece of paper provides only hearsay date
and place information only. lt indicates nothing about jurisdiction, nothing about property
ownership, nothing about rights, and nothing about subject status. The only documents
that can have any legal meaningl as it concerns my status in society, are those which l
have signed as an adult, with full knowledge and consent, free from misrepresentation or
coercion of any kind. My birth certificates (warehouse receipts) have been redeemed
(accepted for value) in a UCC-1 filing, signed on date 9/19/2016, received and recorded
by Mark Martin Secretary of State Department of Arkansas, on date 9/26/2016, Fi|ing
Number 7797288001, and therefore none hold any claim to either my straw-man nor to

my natural self.

2. The use of an identification number from a government agency.
The number normally assigned to persons of subject status, l use exceptionally, under
duress, only because of the extreme inconvenience of operating without one in today's
marketplace, where it is requested by banks, employers, lenders, and many other
government agencies and businesses. My reason for using it is not because | wish to
participate in the system, as l don't wish to participate. Let it be known that l use the
number assigned to me for information on|y, if at all.

3. The use of fiat currency to discharge my debts.

l have used these only because in this country, there is no other widely recognized

currency.
4. The use of a bank account, with my signature on the bank signature card.

|f there is any hidden contract behind the bank signature card, my signature thereon

gives no validity to it. The signature is only for verification of identity. l can be obligated to

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fulfill no hidden or unrevealed contract whatsoever, due to the absence of full disclosure

and voluntary consent.

Likewise, my use of the bank account thereof is due to the absence of a bank not
associated with the central bank system. |n general, people have been prevented from
issuing their own currencies, and such prevention is in violation of the national
constitution. Were there an alternative, l would be happy to use it. To not use any bank

at all is impossible or very difficu|t, as everyone knows, in today's marketplace
5. Past tax returns, 1099’3, or W-9’s filed.

Any tax forms l may have filed or were issued to/in relation to the government issued
identification number in the past, were filed due to the dishonest atmosphere of fear and
intimidation created by the tax collector and the local assessors' offices; not because
there is any law requiring anyone to do so. Once l discovered the tax agencies are lying
to the public, | have felt it is my responsible duty to society to terminate my voluntary
participation. Because such returns/forms were filed under Threat, Duress, and Coercion
(TDC), and no two-way contract was ever signed with full disclosure, there is nothing in
any past filing of returns/forms that created any valid contract. Therefore, no legal

obligation on my part was ever created.
6. The/use of a driver's license.

As a free Sovereign, there is no legal requirement for me to have such a |icense, for
travelling in my car, as technically, the unrevealed legal purpose of driver's'|icenses is
commercial in nature. Since l don't carry passengers or freight for hire, there is no law
requiring me to have a license to travel for my own pleasure and that of my family and
friends. However, because of the lack of education of police officers on this matter,
should l be stopped for any reason and found to be without a license, it is likely l would
be harassed. Therefore under duress, | carry a "|icense" to avoid extreme

inconvenience.

7. State plates on my car.

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Simi|arly, even though technically, my car does not fit the legal definition of a "motor
vehicle", which is used for commercial purposes, nevertheless, l have registered it with
the state and carry the state plates on it, because to have any other plates or no plates
at all, causes me the risk of police officer harassment and extreme inconvenience

8. Declaration of citizenship.

Any document l may have ever signed, in which l answered "yes" to the question, "Are
you“a United States citizen?" -- cannot be used to compromise my status as a
Sovereign, nor obligate me to perform in any manner. This is because without full written
disclosure of the definition and consequences of such supposed "citizenship," provided
in a document bearing my signature given freely without misrepresentation or coercion,
there can be no legally binding contract. l make no allegiance to any earthly
government, l am neutral to al|. “ l, billy darryl floyd, being duly sworn, hereby
declare my intention to be an lrish national but not a citizen of the United States."

9. Past voter registration.

Simi|arly, since no obligation to perform in any manner was ever revealed in print, as part
of the requirements for the supposed "privilege" to vote for government officials', any
such previous registration on my part cannot be legal evidence of any obligation to
perform. Likewise, l have granted NO jurisdiction over me, to any political office lt is my
inherent right to vote on elections or issues that l feel affect all of society; NOT because l
need anyone to rule over me On the contrary -- l have used the voting process only to

instruct my public servants what a Citizen and Sovereign would like done

10. Chi|dren in public school.

The attendance of my children in government-supported "public" schools or

government-controlled "private" schools does not create any legal tax obligation for me,
or any other legal obligation, because l never signed a contract agreeing to such

obligation for the supposed "privilege" of public school attendance

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lf any of my children have attended government supported "public" or controlled "private"
schools, such was done under duress and not out of free wi|l. Be it known that l regard
"compulsory state education" as a violation of the natural and universal common law of

freedom of choice
11. Use of semantics.

There are some immature people with mental imbalances, such as the craving to
dominate over other people, who masquerade as "government." Just because they alter
definitions of words in the law books to their supposed advantage doesn't mean we
have to accept those definitions The fact that they define the words "person," "address,"
"mail," "resident," "motor vehicle," "driving," "passenger," "employee," "income," andg
many others, in ways different from the common usage, so as to be associated with a

subject or slave status, means nothing in real life

Because the courts have become entangled in the game of semantics, be it known to all
courts and all paities, that if l ever signed any document or spoke any words on record,
using words defined by twists in the law books different from the common usage, there
can be no effect whatsoever on my Sovereign status in society thereby, nor can there be
created any obligation to perform in any manner, by the mere use of such words. Where

1 the meaning in the common dictionary differs from the meaning in the law dictionary, it is
the meaning iri the common dictionary that prevails, because it is more trustworthy.

*Such compelled and supposed "benefits"* include, but are not limited to, the aforementioned
typical examples. My use of such alleged "benefits"* is under duress only, and is with full
reservation of all my common law rights. l have waived none of my intrinsic rights and freedoms
by my use thereof. Furthermore, my use of such compelled "benefits" may be temporary until

better alternatives become available, practical, and widely recognized

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FEDERAL JUR|SDICT|ON

lt is further relevant to this affidavit that any violation of my Rights, Freedom, or Property by the
federal government, or any agent thereof, would be an illegal and unlawful excess, clearly
outside the limited boundaries of federal jurisdiction My understanding is that the jurisdiction of
the U.S. federal government is defined by Article 1, Section 8, Clause 17 of the U.S.
Constitution, quoted as follows:

"The Congress shall have the power . . . To exercise exclusive legislation in all cases
whatsoeverl over such a district jNOT EXCEED|NG TEN M|LES SQUARE) as may, by
cession of particular states and the acceptance of Congress, become the _, [District of
Columbia] and to exercise like authority over all places purchased by the consent of the
legislature of the state in which the same shall be, for the Erection of Forts, l\l|agazines,
Arsenals, dock yards and other needful Buildings; And -- To make all laws which shall be

necessary and proper for carrying into Execution the foregoing Powers . . ."
and Article lV, Section 3, Clause 2:

"The Congress shall have the Power to dispose of and make all needful Rules and Regulations
respecting the Territory or other Property belonging to the United States; and nothing in this
Constitution shall be so construed as to Prejudice any claims of the United States, or of any

particular State
" The definition of the "United States" being used here, then, is limited to its territories:

1. The District of Columbia

2. Commonwealth of Puerto Rico

3. U.S. Virgin lslands

4. Guam

5. American Samoa

6. Northern Mariana lslands

7. Trust Territory of the Pacific islands

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9. Federal agencies within the 50 states (including U.S. Post Offices)
lt does not include the 50 states themselves , as is confirmed by the following cities:

"We have in our political system a'Government of the United States and a government of the
several States. Each one of these governments is distinct from the others, and each has citizens
of its own who owe it allegiance and whose rights, within its jurisdiction, it must protect. The
same person may be at the same time a citizen of the United States and a Citizen of a State,
but his rights of citizenship under one of these governments will be different from those he has
under the other." -- Slaughter House Cases M_tLSE_€Ms._CNi_kM, 92 U.S. 542 (1875)
"THE UNlTED STATES GOVERNl\/lENT lS A FORE|GN CORPORAT|ON WlTH RESPECT TO
A STATE." Volume 301 Co[pgs duris Sec. Section 1785: NY re: Merriam 36 N.E. 505 1441
S.Ct.1973, 41 L.Ed.287.

 

This is further confirmed by the following quote from the internal Revenue Service:

Federal jurisdiction "includes the District of Columbia, the Commonwealth of Puerto
Rico, the Virgin lslands, Guam, and American Samoa." -- internal Revenue Code
Section 312(e)

ln legal terminology, the word "includes" means "is limited to".

When referring to this "District" United States, the internal Revenue Code uses the term
"WlTH|N“ the United States, When referring to the 50 Statesl the internal Revenue Code uses
the term "WlTHOUT" the United States.

Dozens, perhaps hundreds, of court cases prove that federal jurisdiction is limited to the few
federal territory areas above indicated. For example, in two Supreme Court cases, it was
decided:

"The laws of Congress in respect to those matters do not extend into the territorial limits

of the states, but have force only in the District of Columbia, and other places that are

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computer software making it impossible to receive necessary communications at my mailing
location rather than at a federal zone "address". This is further enforced under Threat, Duress
and Coercion in that the local Postal Office refuses to deliver to "General De|ivery“ for longer
than 30 days.

Thus, be it known to all, in the nature of UCC 1-207, that l reserve my natural common law right
not to be compelled to perform under any contract of adhesion that l did not enter into
knowingly, voluntari|y, and intentionally And furthermore, l do not accept the liability associated
with the compelled and pretended "benefit"* of any hidden or unrevealed contractor commercial

agreement, and specifically l refuse to be included in any federal zone.

As such, the hidden or unrevealed contracts that supposedly create obligations to perform, for
persons of subject status, are inapplicable to me, and are null and void. lf l have participated in
any the supposed "benefits"* associated with these hidden contracts, l have done so under

duress, for lack of any other practical alternative
REvocATioN oF PowER oF ATToRNEY

Furthermore, l hereby revoke, rescind, and make void ab initio, all powers of attorney, in fact or
othenivise, implied in law or otheniiiise, signed by me or anyone else, as it pertains to the
government identification number previously assigned to me, as it pertains to my birth
certificate, or any other licenses or certificates issued by any and all government or
quasi-governmental entities, due to the use of various elements of fraud by said agencies to
attempt to deprive me of my Sovereignty or property. And, let it be known by all immigration
clerks and the Secretaries of State for now, and forever l am not and nor will ever be a U.S.
Citizen or U.S. National. You have three (3) days to bring forth your proof that l am.

l hereby waive, cancel, repudiate and refuse to knowingly accept any alleged "benefit"* or

, gratuity associated with any of the aforementioned licenses, numbers, or certificates. l do

hereby revoke and rescind all powers of attorney, in fact or otherwise, signed by me or

othenivise, implied in law or othenivise, with or without my consent or knowledge as it pertains to

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any and all property, real or private corporeal or incorporeal, obtained in the past, present, or
future l am the sole legal owner and possess al|odial title to any and all such property, including
but not limited to my physical human body.

l affirm that all the foregoing is true and correct. l affirm that l am of lawful age and am
competent to make this Affidavit. l hereby affix my own signature to all the aermations in this
entire document with explicit reservation of all my unalienable rights and my specific common
law right not to be bound by any contractor obligation which l have not entered into knowingly,
willingly, voluntarily, and without misrepresentation, duress, or coercion.

THE USE OF THE NOTARY BELOW |S FOR lDENTlF|CATlON, AND SUCH USE
DOES NOT GRANT ANY JUR|SD|CT|GN TO ANYONE.

FURTHER AFFlANT SA|TH NAUGHT.

Subscribed and sworn, without prejudice as said in the Uniform Commercia| Code 1-207,

W ,Principal, by Special Appearance, in Propria Persona, proceed' qu' Juris.
My hand and Mark as Subscriber

  
  

Date g 12 /7 d
Common Law Seal of Natural Person %'{ UQ¢ 436

Signing by Accommodation for B-L L~LY BAl>/'DY L l- LDYI\

 
 
   

On this 5 day of nyqu ,year ch`j ,before me, the undersigned,a l‘|i§

in and for , personally appeared the above signed, known to me to be the one ii

 

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whose name is signed on this instrument, and has acknowledged to me that she has executeil
the same Signed /L/QUWC{M/%/z/< gm w\ ii g
Printed Name @\/¢ll/\// Ma¢/.¢i/t/DH/-¢ A/H /M

Date Q`- § s 221/7

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My Commission Expires l\/\ll C°m'“‘Ss'°n Exp"
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